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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA

Alexandria Division fiij Ja -2 te QO

UNITED STATES OF AMERICA

v. The Honorable Liam O’ Grady

KIM DOTCOM, et al.,
Criminal No. 1:12-CR-3

Defendants

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[PROPOSED] SUPPLEMENTAL BRIEF OF SPECIALLY APPEARING DEFENDANT
AND INTERESTED PARTY MEGAUPLOAD LIMITED
REGARDING RULE 41(G) HEARING

On October 22, 2012, interested third-party Kyle Goodwin moved to unseal certain
search warrant materials related to this case, on the grounds that such materials “will not only be
relevant to any Rule 41(g) inquiry, but will likely include evidence Mr. Goodwin will present as
part of his ongoing efforts to have his property returned.” (See Dkt. 131.) In its response to Mr.
Goodwin’s motion, the Government proposed that the Court unseal the materials, with only
minimal redactions. (See Dkt. 139.) The Court adopted the Government’s proposal and
unsealed the materials on November 7, 2012. (See Dkt. 145.) This recent unsealing lays bare a
crucial omission the Government made in applying for the search warrants it used to seize
domain names belonging to Defendant Megaupload Limited (“Megaupload”). Specifically, the
Government’s affidavits underpinning the warrants omitted critical, exculpatory information
regarding whether, why and how Megaupload knew it was hosting criminally infringing files.
The Government represented that, “[o]n or about June 24, 2010, members of the Mega
Conspiracy were informed, pursuant to a criminal search warrant from the U.S. District Court for

the Eastern District of Virginia, that thirty-nine infringing copies of copyrighted motion pictures
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were present on their leased servers at Carpathia Hosting, a hosting company headquartered in
the Eastern District of Virginia,” and that, “[a]s of November 18, 2011, thirty-six of the thirty-

nine infringing copies of copyrighted motion pictures were still being stored on servers

controlled by the Mega Conspiracy,” after it was informed of the infringing content.’ (See Dkt.
145-1 at 11, 38, 61, 84, 105-106) This snippet—which appears in each relevant affidavit and is
the only direct, corroborated evidence the Government purports to offer as proof that
Megaupload had requisite knowledge—suggests that Megaupload was warned of its potentially
criminal complicity yet persisted in hosting the files without concern for their illegal content.
The affidavits, in short, paint Megaupload as a brazen scofflaw.

The truth, as the Government well knows, is quite different. Megaupload had every
reason to retain those files in good faith because the Government had sought and obtained
Megaupload’s cooperation in retrieving the files and warned that alerting users to the existence
of the warrant and the Government’s interest in the files could compromise the investigation.
Thus, the Government selectively parsed its account so as to exclude critical facts that negate any
notion that Megaupload had criminal mens rea to retain the infringing files. The Government
deliberately neglected to apprise the Court that:

e Megaupload received the June 24, 2010 warrant in the course of cooperating
with a Government investigation;

e Megaupload was informed of the June 24, 2010 warrant by its vendor,
Carpathia Hosting (“Carpathia”), with the Government’s consent and for the
express purpose of obtaining Megaupload’s voluntary assistance with
executing the warrant;

e the Government declined to communicate directly with Megaupload about the
warrant, instead deputizing Carpathia to communicate on its behalf;

e Carpathia informed Megaupload that the warrant was sealed, and that only
Carpathia and Megaupload, not the users of the infringing files, were to know

' This same representation appears in the Superseding Indictment. (Dkt. 34 at ¥ 26.)

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of its existence, and at the Government’s request provided Megaupload a copy
of the sealing order. The sealing order provides, in relevant part:

The UNITED STATES, pursuant to Local Rule 49(B) of the Local
Criminal Rules for the United States District Court for the Eastern District

of Virginia, having moved to seal the search warrant, the attachments to

the search warrant, the application for séarch warrant, the affidavit in
support of the search warrant, the Motion to Seal, and proposed Order in
this matter; and oes

The COURT, having found that revealing the material sought to be sealed
would jeopardize an ongoing criminal investigation; having considered the
available alternatives that are less drastic than sealing, and finding none
would suffice to protect the government's legitimate interest in concluding
the investigation; and finding that this legitimate government interest
outweighs at this time any interest in the disclosure of the material; it is
hereby

ORDERED, ADJUDGED, and DECREED that, the search warrant, the
attachments to the search warrant, the application for search warrant, the
affidavit in support of the search warrant, the Motion to Seal, and this
Order be sealed until the United States moves to unseal.

e Carpathia directed Megaupload not to open “EM7 tickets” on the infringing
files—which would have alerted a larger number of people to the existence of
the warrant and jeopardized the secrecy of the investigation—‘[b]ecause of
the Government’s seal on the warrant,” asking that Megaupload instead deal
directly with a single person at Carpathia;

@ Megaupload’s preservation of the status quo, particularly by not taking down
or otherwise disturbing the files identified in the June 24, 2010 warrant, was
faithful to the Government’s express desire, reflected by the Magistrate
Judge’s order sealing the warrant (provided to Megaupload by Carpathia at
the Government’s request) and by Carpathia’s instructions on the
Government’s behalf, for Megaupload to ensure that evidence would remain
preserved and that the target users would remain unaware of the investigation;
and

® consistent with its stated desire that the warrant and investigation remain
confidential so as not to tip off the target users, the Government—neither

directly nor through Carpathia—ever requested that Megaupload take down
the files identified in the June 24, 2010 warrant.

Although it is now apparent that Megaupload, itself, was the target of a criminal

investigation at the time it received the June 24, 2010 warrant from Carpathia, Megaupload was
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led to believe otherwise at the time. Indeed, it was steered to cooperate with the Government by
Carpathia’s express assurance that the Government had given it “no reason to believe the [sic]

MegaUpload is the target of the investigation.” (See June 25, 2010 email from Phil Hedlund to

Mathias Ortmann and Kim Dotcom, attached as Exhibit 1.) By all indications, the Government
tapped Carpathia to convey the June 24, 2010 warrant to Megaupload, thereby planting what the
Government would later claim, for purposes of this case, amounted to criminal knowledge that
Megaupload was hosting infringing files, while simultaneously lulling Megaupload into thinking
it was not a target of its ongoing investigation (which the Government dubbed its “Mega
Conspiracy” investigation)—and, what is worse, affirmatively leading Megaupload to understand
from the warrant’s sealing order and Carpathia’s representations that Megaupload should take no
action with respect to the infringing files lest it tip off the ostensible targets. In sum, the
Government came to paint as criminal the very course of conduct by Megaupload that the
Government had induced in requesting good-faith cooperation with an investigation that was to
remain secret. Most incredibly of all, however, the Government then came before this Court, ex
parte, with a selective, distorted account whereby the Government omitted mention of facts—
well known to the Government—indicating that Megaupload was of an innocent state of mind in
cooperating with what it was told was an ongoing, secret investigation of the infringing files at
issue. The Government deliberately misled the Court that signed the search warrants and failed
to disclose material exculpatory information in violation of Brady v. Maryland, 373 U.S. 83
(1963).

Interested Party Kyle Goodwin in his motion to unseal the warrant materials noted that,
“[a]s part of any hearing under Rule 41(g), Mr. Goodwin will need to investigate the

government’s actions surrounding the searches and seizures that occurred here.” (Dkt. 131 at 7.)
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The Court granted that motion in relevant part. Megaupload now respectfully submits that the
issues outlined above, which go directly to the scope and propriety of the Government’s search

and seizure of the Carpathia servers, would be relevant and properly heard at the Rule 41(g)

hearing to be scheduled. Megaupload respectfully requests an opportunity to participate in any

Rule 41(g) hearing, and asks that all interested parties be permitted to explore the warrants and _
their validity—issues that bear directly on Mr. Goodwin’s ongoing efforts to have his property
returned.

FACTUAL BACKGROUND

The June 24, 2010 Warrant: On or about June 24, 2010, the Government applied for a
warrant to search “[c]omputer servers owned by Carpathia Hosting . . . leased to its customer
Megaupload.” (June 24, 2010 Warrant, Attachment A, attached as Exhibit 2, at 5.) That
application was approved by The Honorable Ivan D. Davis, U.S. Magistrate Judge, Eastern
District of Virginia. (Ud. at 4.) The warrant further authorized the Government to seize thirty-
nine files identified in a schedule attached to the warrant.

The next day, on June 25, 2010, the Government sent the warrant and attachments to
representatives of Carpathia Hosting who, at the Government’s request, then forwarded the
warrant and attachments to Megaupload by email. (See June 25, 2010 email from Phil Hedlund
to Mathias Ortmann and Kim Dotcom, Ex. 1.) Mr. Hedlund’s email explained that the warrant
was a “sealed (meaning we cannot disclose to anybody) warrant with an exception to disclose to
you.” (/d.) His email further requested that, “[b]ecause of the Government’s seal on the
warrant,” Megaupload coordinate any efforts to comply with the warrant with a specific
Carpathia representative who was in the know, without publicly opening a ticket as it normally

would. (/d.) Reinforcing that account, the sealing order accompanying the email found that
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“revealing the material sought to be sealed would jeopardize an ongoing criminal investigation”
and authorized release solely by the Government to Carpathia and, through Carpathia, to

Megaupload. (June 24, 2010 Order to Seal Signed by Magistrate Judge Davis, Ex. 2.) And Mr.

Hedlund’s email further reported “relay[ing] to the Government Mega’s willingness to work with

visit,” and requested that Megaupload “please confirm as soon as possible that Mega will assist
in collecting and providing this information,” so that Carpathia could “communicate that to the
Government.” (d.)

Unbeknownst to Megaupload, however, it was already a target of a criminal
investigation, presumably the very same investigation. (See e.g. Warrant 1:12-sw-34, Dkt. 145-1
at 6-7 4 7 (“In March 2010 [redacted] initiated an investigation of a worldwide criminal
organization known as the ‘Mega Conspiracy’ . .. DEFENDANTS and others are members of
the Mega Conspiracy.”).) Thus, it now appears that the Government was seeking cooperation
and information from Megaupload in June 2010 without informing Megaupload that it was an
investigatory target. Notably, the Government avoided communicating with Megaupload
directly, instead deputizing Carpathia to do so on its behalf. (See June 25, 2010 email from Phil
Hedlund to Mathias Ortmann and Kim Dotcom, Ex. 1 (“Please know that we attempted to
convince the Government to work directly with Mega on this matter, but given the complex
jurisdictional issues, they have been unwilling.”).) Far from warning Megaupload that the
Government considered it to be part of a worldwide criminal organization, which the
Government even at the time was terming the “Mega Conspiracy,” the Government, through its
anointed agent Carpathia, represented to Megaupload that “[w]e have no reason to believe the

[sic] MegaUpload is the target of the investigation.” (Jd.)
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Megaupload cooperated with the Government and voluntarily arranged with Carpathia to
supply the Government with the files identified in the sealed warrant. In accordance with the

Government’s express admonitions—as conveyed to Megaupload through the sealing order and

Carpathia’s instructions—Megaupload avoided signaling that anything was afoot or otherwise

compromising the investigation, preserving the files in their original condition without alerting
users or the public that anything had changed. At no time did the Government or Carpathia
indicate that Megaupload could or should remove the files identified in the warrant from its
cloud storage platform without compromising the stated secrecy of the investigation, much less
did they suggest that Megaupload was legally obliged to do so lest it be complicit in an ongoing
criminal conspiracy.

Indeed, the Government’s message to Megaupload was precisely to the contrary—
Megaupload was to take vo action that could disclose the existence of the investigation. And
Megaupload dutifully complied, doing precisely what the Government requested of it, ie.,
collect and provide the evidence concerning the infringing files, without taking any additional
steps that might compromise the investigation. The Government would subsequently use
Megaupload’s cooperation with the Government’s instruction as the sole direct evidence of
Megaupload’s purported criminal intent; the Government did so specifically in support of the
search warrants it executed against Megaupload and the individual defendants in January 2012.
The Government’s representation squared neither with the facts well known to it nor with its
constitutional obligation to disclose exculpatory evidence in its possession. See, e.g., Brady v.
Maryland, 373 U.S. 83 (1963).

The January, 2012 Warrants. More than one year after it had successfully enlisted

Megaupload’s assistance in retrieving copies of allegedly infringing files from its cloud storage
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service, the Government seized upon Megaupload’s cooperation as a core basis for criminal
punishment. The Government came before this Court on January 13, 2012, ex parte,

representing that its June 24, 2010 warrant had vested Megaupload with criminal mens rea. (See,

e.g., Affidavit in Support of Warrant 1:12-sw-34, Dkt. 145-1 at 11.17.) In at least five different

warrants, the Government represented that, “[o]n or about June 24, 2010, members of the Mega
Conspiracy were informed, pursuant to a criminal search warrant from the U.S. District Court for
the Eastern District of Virginia, that thirty-nine infringing copies of copyrighted motion pictures
were present on their leased servers at Carpathia Hosting, a hosting company headquartered in
the Eastern District of Virginia,” and that “[a]s of November 18, 2011, thirty-six of the thirty-
nine infringing copies of copyrighted motion pictures were still being stored on servers
controlled by the Mega Conspiracy,” after it was informed of the infringing content. (See Dkt.
145-1 at 11, 38, 61, 84, 105-106.) This single paragraph supplied the only direct, corroborated
evidence of knowledge purportedly supporting each of the five warrants.

Nowhere did the Government tell this Court that its June 24, 2010 warrant had been
calculated to enlist good-faith cooperation with a criminal investigation, while preserving the
secrecy thereof. Nowhere did the Government tell this Court that the Government had sought
Megaupload’s voluntary assistance in executing the warrant. Nowhere did the Government tell
this Court that Carpathia had assured Megaupload, in the interests of its requested cooperation,
that there was no basis to believe that Megaupload was a target. Nowhere did the Government
tell this Court that Megaupload had in fact cooperated precisely as requested. Most importantly
and most troublingly, nowhere did the Government tell this Court that Megaupload had been
informed by Carpathia, acting on behalf of the Government and heeding the Government’s

insistence upon sealing, that the secrecy of the warrant and the Government’s investigation must
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be preserved to avoid destruction of evidence and notification of the targeted users. Nor did the
Government inform this Court that the sealing order it had obtained and furnished Carpathia to

provide to Megaupload likewise required secrecy and expressly specified that “revealing the

material sought to be sealed would jeopardize an ongoing criminal investigation.” In sum,

nowhere did the Government tell this Court that Megaupload had done exactly what the
Government had asked it to do—execute a search warrant without alerting the ostensible targets
to the existence of an investigation. The Government’s contention to this Court that
Megaupload’s preservation of the status quo was evidence of criminal intent is false, and
deliberately so.

Rule 41(g) and Warrant-Related Filings: On May 25, 2012, interested party Kyle
Goodwin filed his Motion for Return of Property pursuant to Federal Rule of Criminal Procedure
41(g), seeking the return of data stored using Megaupload’s cloud storage service. (Dkt. 90.)
The Government opposed that motion on June 8, 2012. (Dkt. 99.) Following briefing, oral
argument, and efforts at negotiated resolution of the motion, the Court issued an Order on
October 2, 2012, indicating that “it is unable to reach a conclusion as to this matter without an
evidentiary hearing.” (See Dkt. 126.) The Court instructed that the hearing “shall be limited to
argument and evidence concerning the applicability of Federal Rule of Criminal Procedure
41(g)” and ordered Mr. Goodwin and the Government to file briefs addressing the suggested
format and breadth of this hearing. (See id.)

On October 30, 2012, the undersigned filed a motion to enter a special and limited
appearance on behalf of Defendant and interested party Megaupload Limited for the purpose of
filing a brief weighing in as to the suggested format and breadth of a Rule 41(g) hearing,

attaching a proposed brief. (Dkt. 133.) At that time, the warrant materials related to this case
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had not been unsealed. On November 20, 2012, the Court granted the undersigned’s motion to
enter a special and limited appearance, whereupon Megaupload’s brief regarding a Rule 41(g)

hearing was deemed filed nunc pro tunc as of October 30, 2012. (Dkt. 148.)

Earlier, on October 22, 2012, Mr. Goodwin had filed a motion to unseal search warrant

materials.” (Dkt. 131.) As grounds for unsealing the search warrant materials, Mr. Goodwin
alerted this Court to numerous deficiencies that have been identified in warrants that were
executed in New Zealand at the behest of the U.S. government. (/d. at 3-5.) Mr. Goodwin
argued that, “[a]s part of any hearing under Rule 41(g), Mr. Goodwin will need to investigate the
government’s actions surrounding the searches and seizures that occurred here.” (/d. at 7.) The
Court granted that motion in part on November 15, 2012, and redacted copies of Warrants 1:12-
sw-34, 1:12-sw-35, 1:12-sw-36, 1:12-sw-37 and 1:12-sw-40 were then made public. (Dkt. 145,
145-1.) The instant submission proceeds in the light of those revelations.

DISCUSSION

It is clear from the unsealed warrants that the Government withheld critical information
from its supporting affidavits. That withholding calls into grave question the legality of any and
all seizures effected pursuant to those warrants and is directly relevant to the upcoming 41(g)
hearing and to Mr. Goodwin’s pending motion for return of property. And the withholding is all
the more worrisome considering the identified pattern of governmental misconduct plaguing the
proceedings in New Zealand. At this point, it is only appropriate that questions be asked and
answered about why the Government withheld information from this Court as it did and as to
whether it could have otherwise claimed proof of Megaupload’s criminal mens rea had it not
planted Megaupload’s alleged knowledge of infringing files under false auspices of enlisting

cooperation in a secret investigation of which Megaupload supposedly was not the target, and

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then misleading this Court about the true intent behind Megaupload’s assistance in executing the
Government’s June 24, 2010 search warrant. Of course, Megaupload’s alleged mens rea was in

turn crucial to establishing the requisite probable cause for the sweeping searches and seizures

which captured the property of innocent users such as Mr. Goodwin.

A warrant is defective—and the resulting search and seizure are unlawful—if the affiant
was dishonest or reckless in preparing his affidavit in support of the warrant, and if the allegedly
false statement is necessary to the finding of probable cause, regardless whether a searching
officer proceeded in good faith. United States. v. Leon, 468 U.S. 897, 926 (1984); Franks vy.
Delaware, 438 U.S. 154, 156 (1978). A court may order return of property pursuant to Rule
41(g) on the basis that the warrants authorizing seizure of property were invalid. See United
States v. Comprehensive Drug Testing, Inc., 513 F.3d 1085, 1105 (9th Cir. 2008)
(“Comprehensive Drug Testing I’), opinion revised and superseded in part by 621 F.3d 1162
(9th Cir. 2010) (“Comprehensive Drug Testing II’’).

Mr. Goodwin has sought to challenge the validity of the warrants used to seize his
property, and the lawfulness of the government’s ensuing actions, even before the warrants and
the materials offered in support of them were unsealed. (Dkt. 91, at 6; Dkt. 131 at 7.) Now that
they have been unsealed, Mr. Goodwin’s concerns about their infirmity have only been
confirmed and vindicated. Mr. Goodwin deserves further opportunity to explore the warrants
and their validity at a Rule 41(g) hearing, including evidence that the Government misled this
Court on the key matter of Megaupload’s purported criminal intent. Because Megaupload is in
the best position to analyze the evidence illuminating these matters, it respectfully submits that it
should be afforded an opportunity to specially participate and make argument through specially

appearing counsel Quinn Emanuel and the Rothken Law Firm at a Rule 41(g) hearing.

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CONCLUSION

For the foregoing reasons, specially appearing Defendant Megaupload respectfully

requests that the Court allow the participants in any Rule 41(g) hearing, including Megaupload, =

the opportunity to address the validity of Warrant 1:12-sw-34, 1:12-sw-35, 1:12-sw-36, 1:12-sw-

37, and 1:12-sw-40, of any accompanying materials offered in support thereof, and of any other
relevant materials that might be unsealed in the meantime.
Respectfully submitted,

Author bd Wbuhec

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CERTIFICATE OF SERVICE

I hereby certify that on January 2, 2013, the foregoing [PROPOSED]

SUPPLEMENTAL” BRIEF OF SPECIALLY APPEARING DEFENDANT AND
INTERESTED PARTY MEGAUPLOAD LIMITED REGARDING RULE  41(G)
HEARING was filed and served on the United States by hand delivery, via courier at the
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From: Phil Hedlund <phedlund@carpathiahost.com>

Date: Fri, Jun 25, 2010 at 12:06 PM

Subject: Search Warrant - Urgent

To: Mathias Ortmann <mo/@uae.de>, Mathias Ortmann <mo@megaupload.com>, Kim
<hq@megaupload.com>

Cc: Peter Weber <pweber@carpathiahost.com>, Sean Walsh <swalsh@carpathiahost.com>

Kim and Mathias,

Please find attached a Search Warrant received by Carpathia today. Over the past days (since
our return from our visit to you); Carpathia has been negotiating with the Government to avoid
receiving a search warrant that could result in a seizure or imaging of the servers Carpathia
provides to Mega. Instead, we’ve managed to convince the Government to issue this sealed
(meaning we cannot disclose to anybody) warrant with an exception to disclose to you. Please
know that we attempted to convince the Government to work directly with Mega on this matter,
but given the complex jurisdictional issues, they have been unwilling. Nonetheless, Carpathia
feels as if we’ve achieved a small victory by preventing the Government from issuing a search
warrant giving them power to seize or image the servers themselves. Kim, we were able to do
this specifically because we relayed to the Government Mega’s willingness to work with the
Government for these types of requests — just as we discussed during the last day of our visit
(boy, am I happy we discussed it).

Carpathia needs your help collecting the information sought in this warrant so Carpathia can
hand the information over to the Government. We have no reason to believe the MegaUpload is
the target of the investigation. Mega’s assistance in providing this information is the path most
likely to avoid any disruption of services.

We specifically need (please note: I’m summarizing the Search Warrant; please read and rely on
the actual Search Warrant, not my summary in case I made a typo):

1. All records, including the content associated with each filename, logs of uploads,
downloads, page views, displays, streams and distributions for each filename in the
warrant (see the last two pages). Carpathia has already asked the Government to provide
us with the ‘MD5 sums’ to assist in this effort. If any of the above information is derived
from Carpathia servers that aren’t in Virginia, you aren’t required to provide it.

2. All information that might identify the subscribers related to the accounts or identifiers,
including names, addresses, telephone numbers and other identifiers, e-mail addresses,
business information, lenth of service (including start date), types of services utilized,
means and source of payment for services (including any credit card or bank account
number), of the individual or individuals who uploaded the content associate with each
filename in the warrant. Again, this only relates to the servers provided by Carpathia in

VA.

3. All records stored on the servers Carpathia provides relating to MegaUpload accounts
associated with the email accounts and MegaUpload customer IDs identified in the
warrant. Those are: deadine@gmail.com; hana beshara@yahoo.com;

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phara@ninjavideo.net, joshev@yahoo.com; tik@ninjavideo.net and Megaupload

505724848 and business silver membership number 5605491629. Again, this only
relates to the servers provided by Carpathia in VA.

Given that the Government wants actual copies of the files themselves, I suspect that the easiest

mechanism to consolidate this information would be to identify a specific 1.5Tb disk (or disks)
on one of the Supermicro servers in Ashburn and move all the files to that disk (or disks). Once
that is done, Carpathia can then remove those disks and give them to the Government. Of
course, Carpathia will replace the removed disks with spares immediately. Because of the
Government’s seal on the warrant, please do not open EM7 tickets, but instead deal directly with
Sean Walsh (swalsh@carpathiahost.com) to coordinate any assistance you need from Carpathia
operations.

If you would please confirm as soon as possible that Mega will assist in collecting and providing
this information, Carpathia will communicate that to the Government. Also, please let us know
how long you think you may need to collect this data so we can set expectations with the
Government, that would be helpful too.

Please do not hesitate to call me with any questions.

Philip Hedlund

Sr. Director Business Development
Carpathia Hosting, Inc

43480 Yukon Drive

Suite 200

Ashburn, VA 20147

(303) 523 9702 cell

(703) 738 7073 fax
www.carpathiahosting.com

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U.S. Department of Justice

United States Attorney

Eastern District of Virginia

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O - Tax Information

wt Law Enforcement Information
OD” Victim Witness Information

CONTENTS:

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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA
Alexandria Division CLE US. PSR | SPURT

>

IN THE MATTER OF THE SEARCH OF Case No. 1. (OS 302

INFORMATION ASSOCIATED WITH —

AT THE PREMISES CONTROLLED BY

)
MEGAUPLOAD.COM THATIS STORED ) UNDER SEAL
)
CARPATHIA HOSTING )

ORDER TO SEAL

The UNITED STATES, pursuant to Local Rule 49(8) of the Local Criminal Rules for the
United States District Court for the Eastern District of Virginia, having moved to seal the search
warrant, the attachments to the search warrant, the application for search warrant, the affidavit in
support of the search warrant, the Motion to Seal, and proposed Order in this matter; and

The COURT, having found that revealing the material sought to be sealed would
jeopardize an ongoing criminal investigation; having considered the available alternatives that
are less drastic than sealing, and finding none would suffice to protect the government’s
legitimate interest in concluding the investigation; and finding that this legitimate government
interest outweighs at this time any interest in the disclosure of the material; it is hereby

ORDERED, ADJUDGED, and DECREED that, the search warrant, the attachments to
the search warrant, the application for search warrant, the affidavit in support of the search
warrant, the Motion to Seal, and this Order be sealed until the United States moves to unseal.
The United States is authorized to provide a copy of the search warrant with attachments to
Carpathia Hosting. In addition, because Carpathia may need the assistance of its customer,

Megalpload Limited to obtain the content from the computer servers leased to MegaUpload and
Gabe 4:0 Cr-boUGY-AJT Document 153-2 Filed 01/02/13 Page 20 of KB RagelD# 2146

located within Carpathia's facilities, Carpathia Hosting may provide a copy of the warrant with

attachments and this sealing order to MegaUpload.

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HONORABLEIVAN D- DAVIS

Date: AY Say tO UNITED STATES MAGISTRATE JUDGE

Alexandria, Virginia
Cae) 4: PHcr-SOOR-AIT Document 153-2 Filed 01/02/13 Page 21 of 86 RegelD# 2147

AO 93 (Rev, 12/09) Search and Seizure Warrant

UNITED STATES DISTRICT COURT

for the
Eastern District of Virginia

Tn the Matter of the Search of

(Briefly describe the property to be searched

or identify the person by name and address) Case No. 1:108W 3 20

IN THE MATTER OF THE SEARCH OF INFORMATION
ASSOCIATED WITH MEGAUPLOAD.COM THAT IS
STORED AT THE PREMISES GONTROLLED BY
CARPATHIA HOSTING

SEARCH AND SEIZURE WARRANT

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To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Eastern _ Districtof Virginia.
(identify the person or describe the property to be searched and give its location):

See Attachment A.

The person or property to be searched, described above, is believed to conceal (identify the person or describe rhe
property to be seized):
See Attachment B.

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property.

YOU ARE COMMANDED to execute this warrant on or before July 8, 2010

” fnot fo exceed 14 days)

tf inthe daytime 6:00am. to 10pm. 7 at any time im the day or night as I find reasonable cause has been
established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge
The Honorable lvan D. Davis _
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searched or seized (check the appropriare box) Ofor — days (not to exceed PERS «Fag me ES
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Date and time issued: 6/24/2010 + (697 hed, Qo (CE

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City and state: Alexandria, Virginia The Honorable Ivan D, Ditvis-tkS? Magistrate Judge
Printed name and title

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Attachment A
PREMISES TO BE SEARCHED

Computer servers owned by Carpathia Hosting, headquartered at 43480 Yukon Drive,
Suite 200,Ashbum, Virginia 20147, leased to-its-customer, MegaUpload, including, but-not______

limited to. computers assioned the following IP addresses:

69.5,92,50

174,140,129,69
174.140.128.51
209.222.128.153
209.222.128.246
209.222.128.172
174.140,157.36
174.140.156.81
174.140.128.27
66.117.43.41
174.140,129.47
66.117.43.118
69.35.9358
174.140.129.67
174.140.128.40
69.5.92.23
69.5.92.54
69.5,93.29
69,5.92.5]
69,5.93,34
174,140.128.57
174,140.157.15
69.5.92.41
174.140.157.58
66.117.43.117
209.222.128.204
209,222.128.135
174,140.156.70
174.140.156.72
69.5,93,57
174,140,128.28
174,140,156.56
66.117,43.63
174.140,129.41
174.140.156.78
174.140.128.9
174.140.129.45
69,5,92.39
209,222,128.162
Case 4 WA fer-HGdels-AIT Document 153-2 Filed 01/02/13 Page 23 of lis Pébelb# 2149

Attachment B
ITEMS TO BE SEIZED

Items evidencing violations of Title 18, United States Code, Section 2319 and Title 17, United

States Code, Section 506 (Criminal copyright infringement); Title 18, United States Code,

1g offenses), and Title 18, United States Code Section

371 (Conspivacy) inc luding but not limited to the following:

I, ITEMS TO BE SEIZED

1. All records, including the content associated with each filename, logs of uploads,
downloads, page views, displays, streams and distributions for each filename stored on Carpathia
computers identified in the table attached in Section IIT below.

2, All information that might identify the subscribers related to the accounts or
identifiers, including names, addresses, telephone numbers and other identifiers, e-mail
addresses, business information, the length of service (including start date), types of services
utilized, means and source of payment for services (including any credit card or bank account
number), of the individual or individuals who uploaded the content associated with each
filename stored on Carpathia computers identified in the table attached in Section III below.

3, All records stored on Carpathia computers relating to MegaUpload accounts
associated with the emai] accounts and MegaUpload customer [Ds:

a. deadl ne@gmail.com

b. hana_beshara@yahoo.com

c. phara@ninjavideo.net
d, joshev@yahoo.com
e tik@ninjavideo.net

f. MegaUpload premium account ID numbers 5057215313; 10462109706,
3895607225; 6142888968; 5057214848; and business silver membership
number 5605491629.

It. Information to be seized by the government

All information described above in Section I that constitutes fruits, evidence and
instrumentalities of violations of Title 18, United States Code, Section 2319 and Title 17, United
States Code, Section 506 (Criminal copyright infringement); Title 18, United States Code,
Section 2 (Aiding and Abetting the foregoing offenses), and Title 18, United States Code Section
371 (Conspiracy), relating to the reproduction, display or distribution of the files identified in

Attachment A, including:

L. Content associated with each filename and logs of uploads, downloads, page
views, displays, streams and distributions for each filename stored on Carpathia
computers identified in the table attached in Section HI below.
— Cased AA er-90Q0R-AJT Document 153-2 Filed 01/02/13 Page 24 of R6 RagelD# 4150

2. Files, databases, and database records for each filename stored on Carpathia
computers identified in the table attached in Section IIT below.

3, Information identifying the subscribers related to the accounts or identifiers,

including names, addresses, telephone numbers.and other identifiers, e-mail

Abed

addr resses_ business information, the length of service (including start date), types

of services utilized, means and source of payment for services (including any
credit card or bank account number), for each filename stored on Carpathia

computers identified in the table attached in Section [II

4, All records stored on Carpathia computers relating to MegaUpload accounts
associated with the email accounts and MegaUpload customer IDs:

A. dead ne@gmail.com

b. hana_beshara@yahoo.com

c. phara@ninjavideo.net
d. joshev@yahoo.com
€. tik@ninjavideo net

f MegaUpload premium account [1D numbers 5057215313; 10462109706,
3895607225; 6142888968; 5057214848; and business silver membership
number 5605491629
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LOCC Hepa d 190 OsplAgli
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C069 S/DOplAsiel OoplaRtu
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